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                 Exhibit D
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          I N T H E M A T T E R of a r e q u e st b y T h e U nit e d St at e s f or t h e e xtr a diti o n of S a m u el
                                                          B a n k m a n- Fri e d
                                                                  A ND
             I N T H E M A T T E R of t h e E xtr a diti o n Tr e at y b et w e e n t h e G o v er n m e nt of t h e
     C o m m o n w e alt h of T h e B a h a m a s a n d t h e G o v er n m e nt of T h e U nit e d St at e s of A m eri c a
                                                                  A ND
                                 I N T H E M A T T E R of t h e U nit e d St at e s of A m eri c a
8                                                                 A ND
        I N T H E M A T T E R of t h e E xtr a diti o n A ct, C h. 9 6 of t h e st at ut e l a w s of T h e B a h a m a s


     BET WEE N
                                         T H E U NI T E D S T A T E S O F A M E RI C A
13                                                                                                                   A p pli c a nt
                                                                  A ND


                                                S A M U E L B A N K M A N- F RI E D
                                                                                                                       F u giti v e


     T H E C O U R T: G o o d m or ni n g Ki n g' s C o u n s el.
     M R. WI L LI A M S: G o o d m or ni n g y o ur w or s hi p.
     T H E C O U R T: Y e s f or t h e r e c or d mi g ht I h a v e t h e a p p e ar a n c e s pl e a s e.
     M R. WI L LI A M S: Y e s, if it pl e a s e y o u y o u r w or s hi p I a p p e ar F r a n kli n Willi a m s.
     T H E C O U R T: Y e s.
     M R. WI L LI A M S: Wit h m e i s Mi s s C or d ell Fr a s er a n d Mi str e s s K ari n e M c v e a n.
      T H E C O U R T: K ari n e.
      M R. WI L LI A M S: K ari n e K - A - R -I - N - E M c V e a n.
      T H E C O U R T: T h a n k y o u. S orr y Mr. Willi a m s h o w di d y o u s p ell K ari n e?
     M R. WI L LI A M S: K - A - R -1 - N - E.
     T H E C O U R T: K - A - R?
     M R. WI L LI A M S: I - N - E.
31   T H E C O U R T: V er y w ell, M c V e a n. T h at' s wit h V A n d t w o E' s?
     M R. WI L LI A M S: M - A - C - V - E - A - N.
     T H E C O U R T: V - E - A - N?
     M R. WI L LI A M S: Y e s.
     T H E C O U R T: T h a n k y o u. T h a n k y o u.
     T H E C O U R T: O k a y a n d f or, y e s Mr. R o b e rt s.
     M R. R O B E R T S: M a y it pl e a s e y o u.
     T H E C O U R T: Y e s sir.
     M R. R O B E R T S: Y o ur w o r s hi p I a p p e a r f or Mr. B a n k m a n - Fri e d.
     T H E C O U R T: Y e s.
     M R. R O B E R T S: Wit h m e t h o u g h n ot a bl e t o g o o n t h e r e c or d at t hi s p oi nt i s m y p u pil M s.
     Cr y st al St e w art.




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 1    A n d o n a w at c hi n g bri ef i s Mi s s K e n dr e a D e m eritt e. A n d s h e sit s o n h er w at c hi n g bri ef
 2   h ol di n g f or Mr s. Kr y st al R oll e K C. A n d t h e y ar e h er e i n r e s p e ct of r el at e d m att er s f or Mr.
 3   B a n k m a n- Fri e d.
 4   T H E C O U R T: O k a y, g o o d m or ni n g t o all c o u n s el t h a n k y o u f or b ei n g h er e .
 5    U m A n d Mr. B a n k m a n- Fri e d i s h er e . G o o d m or ni n g t o y o u. Mr . B a n k m a n- Fri e d.
 6   B A N K M A N- F RI E D: G o o d M or ni n g.
 7   T H E C O U R T: H o w ar e y o u sir ?
 8   B A N K M A N- F RI E D: I' m d oi n g w ell
 9   T H E C O U R T: W o n d erf ul.
10   O k a y v er y w ell. S o w h er e ar e w e t o d a y pl e a s e ?
11   M R . R O B E R T S: Y o ur w or s hi p g o o d m or ni n g         I need t o make        c ert ai n f or m al h o u s e h ol d
12   i n q uiri e s.
13   T H E C O U R T: Y e s sir .
14   M R. R O B E R T S: A n d t h e m o st o n e of t h e m or e i m p ort a nt o n e s f or u s i s t o m a k e i n q uiri e s
15   a s t o w h et h er or n ot t h e r e c or di n g s y st e m i s i n f a ct r e c or di n g a n d w or ki n g .
16   T H E C O U R T: Y e s it i s. I a m a d vi s e d r eli a bl y s o I m a y s a y b y Mr s B u c h a n a n.
17   M R. R O B E R T S: T h a n k y o u.
18   T H E C O U R T: Y e s sir.
19    M R. R O B E R T S: Y o u w or s hi p i n t h e cir c u m st a n c e s a n d I k n o w t hi s i s t h e pr a cti c e w hi c h
20   o bt ai n s b y l a w i n t h e S u pr e m e C o urt.
21    U m w e f or m all y m a k e a r e q u e st f or a c o p y of t h e tr a n s cri pt of t o d a y' s h e ari n g o n t h e
22   c o m pl eti o n h er e of .
23   T H E C O U R T: Y e s, v er y w ell Mr. R o b ert s.
24    C o nti n u e pl e a s e sir.
25    M R R O B E R T S: Y o ur w or s hi p t h e ot h er bit of h o u s e k e e pi n g t h at I m u st a d dr e s s i s t hi s
26   b u si n e s s a b o ut w h at o c c urr e d o n M o n d a y.
27    A n d m y b ei n g i n cr e di bl e t h at I di d n ot k n o w of t h e h e ari n g .
28    Y o u'r e w or s hi p.
29    A n d it w a s i n cr e di bl e b e c a u s e it w a s s o wi d el y p u bli ci z e d t h at t h er e w o ul d b e a h e ari n g
30   o n M o n d a y.
31    Y o ur w or s hi p I i n di c at e d t h at I h ar dl y p a y a n y n e w s t o w h at i s p u bli s h e d i n t h e m e di a a s
32   r e g ar d s m y h a vi n g t o att e n d c o urt.
33    A n d a pri m e e x a m pl e of t h at o c c urr e d y e st er d a y y o ur w or s hi p b e c a u s e it w a s wi d el y
34   p u bli ci z e d t h at Mr. B a n k m a n- Fri e d, h a d s uff er e d s o m e i n ci d e nt a n d w a s at D o ct or' s
35   h o s pit al.
36    S o if I w a s c o n d u cti n g b u si n e s s wit h Mr . B a n k m a n- Fri e d y e st er d a y, o ut of t h e or di n ar y
37   w a y t h at I d o b u si n e s s.
38    A n d b e ari n g i n mi n d t hi s t h e or y t h at if it i s wi d el y p u bli ci z e d, t h at i s w h at y o u m u st
39   f oll o w, I w o ul d h a v e g o n e t o D o ct or' s H o s pit al t o s e e Mr. B a n k m a n- Fri e d a n d c o n d u ct
40   m y b u si n e s s t h er e.
41     It s o t ur n e d o ut t h at Mr . B a n k m a n- Fri e d w a s at t h e D e p art m e nt of C orr e cti o n al S er vi c e s
42    w h er e Mi s s D e m erritt e a n d I w er e t h er e f or al m o st all of t h e d a y, c o n d u cti n g b u si n e s s
43    wit h Mr. B a n k m a n- Fri e d.
44   T H E C O U R T: Y e s
45    M R. R O B E R T S: S o t h at i s w h y I d o n't f oll o w w h at i s wi d el y p u bli s h e d t o c o n d u ct m y aff air s
46    w h e n it c o m e s t o t h e c o urt. I t a ke c o urt d at e s fr o m t h e c o urt.




      R O U G H - 2 1 D ece m ber 2 0 22

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       Eit h er t hr o u g h a n a dj o ur n m e nt or if t h e c o urt off er s m e t h e c o urt e s y t o c all m e a n d s a y
 2    I h a v e a h e ari n g, pl e a s e c o m e, I c o m e or if c o u n s el c all s m e a n d s a y or s p e a k s
 3    s p e cifi c all y t o a c o urt d at e a n d ti m e I c o m e. Wi d el y p u bli ci z e d d o e s n ot g ui d e m e.
 4    T H E C O U R T: V er y w ell Mr. R o b ert s.
 5    M R. R O B E R T S: T h e ot h er t hi n g i s t hi s.
 6    T H E C O U R T: T h e c o urt a p pr e ci at e s y o u s a yi n g t h at f or t h e r e c or d.
 7    M R . R O B E R T S: T h a n k y o u .
 8    T H E C O U R T: Y e s, y o u m a y c o nti n u e.
 9    M R. R O B E R T S: T h e ot h er t hi n g i s t hi s y o ur w or s hi p, a s I i n di c at e d al s o o n M o n d a y t h at I
10    w a s n ot a w ar e of w h at w a s g oi n g o n M o n d a y.
11    I b eli e v e w h at o c c ur s h er e t o d a y will d e m o n str at e t h at w h e n I' m i n v ol v e d i n a n y m att er
12    t hi n g s m o v e s m o ot hl y b e c a u s e t h e ri g ht d o c u m e nt s ar e i n pl a c e a n d t h e ri g ht n oti c e s
13    ar e gi v e n t o c o u n s el t o att e n d c o urt.
14    T H E C O U R T: Y e s sir .
15    M R. R O B E R T S: T h a n k y o u y o ur w or s hi p
16    T H E C O U R T: T h a n k y o u Mr. R o b ert s.
17    M R. R O B E R T S: Y o ur w or s hi p g etti n g t o t h e h e art of t h e s e pr o c e e di n g s. M a y I i n vit e y o ur
18    att e nti o n pl e a s e t o s e cti o n 1 7 of t h e e xtr a diti o n ?
19    T H E C O U R T: Y e s sir .
20     M R. R O B E R T S: U h s orr y , j u st f or t h e r e c or d . U h s orr y I mi s s e d         o n e pi e c e. W e'r e    h er e
21    t hi s m or ni n g.
22    Y o u w or s hi p p ur s u a nt t o a h e ari n g w hi c h I r e q u e st e d of y o u y e st er d a y. T h at h e ari n g w a s
23    i n o p e n c o urt d uri n g t h at h e ari n g, I pr e s e nt e d t o y o ur w or s hi p a n affi d a vit w hi c h w a s
24    s w or n o n 2 0 D e c e m b er 2 0 2 2 a n d fil e d o n 2 0 D e c e m b er 2 0 2 2 w hi c h i n di c at e s
25    A c o m pli a n c e wit h s e cti o n 1 7 ( 2) of t h e e xtr a diti o n a ct.
26    T h o u g h t h e a ct d o e s n ot s a y t h at I a m o bli g at e d t o gi v e o n e t o m y l e ar n e d fri e n d o ut of
27    t h e c o urt e si e s a n d r e s p e ct w hi c h I h a v e f or hi m.
28    I g a v e hi m o n e a s w ell.
29    T H E C O U R T: V er y w ell.
30     M R R O B E R T S : O k a y, y o ur w or s hi p if I m a y t a k e y o u t o s orr y a s a r e s ult of t h e i n di c ati o n
31     i n t h e affi d a vit I r e q u e st e d t h e c o urt t o bri n g Mr. B a n k m a n- Fri e d d o w n s o t h at t h e
32     pr o c e e di n g s i n r el ati o n t o t h e r e q u e st f or hi s e xtr a diti o n b y t h e U nit e d St at e s of A m eri c a
33     c a n b e c o m pl et e d a n d c o m pl et e d a c c or di n g t o l a w.
34     If I m a y t h e n s orr y, t h e ti m e fi x e d b y y o ur w or s hi p w a s 1 1 o' cl o c k o n e o' cl o c k t hi s m or ni n g
35     a n d w e ar e h er e.
 36    T H E C O U R T: A n d w e ar e h er e 1 1 o' cl o c k t hi s m or ni n g.
 37    T H E C O U R T: I t hi n k it i s o nl y b e c a u s e of m y         sli g htl y l at e arri v al t h at w e di d n't st art
 38    pr o m ptl y at 1 0.
 39    M R R O B E R T S: W ell y o ur w or s hi p. It' s C hri st m a s . Y o u c a n h a v e t h at.
 40    T H E C O U R T: V er y w ell. T h a n k y o u. Mr. R o b ert s.
 41    M R. R O B E R T S: Y o ur w or s hi p if I m a y t a k e y o u t o s e cti o n 1 7 of t h e e xtr a diti o n a ct pl e a s e.
 42    T H E C O U R T : Y e s sir
 43    M R. R O B E R T S: I w o ul d r e a d it i nt o t h e r e c or d b e c a u s e y o ur w or s hi p I d o a p pr e ci at e t h at
 44    t h e s e t hi n g s will g o, b ut I will n ot s a y el s e w h er e .
 45    T H E C O U R T: Y e s sir




       R O U G H - 2 I D e c e m b er 2 0 2 2

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 1    M R R O B E R T S: I'll b e s p e cifi c it will g o t o A m eri c a a n d w e n e e d t o b e e n s ur e d t h at w h e n
2     Mr. B a n k m a n- Fri e d l e a v e s h er e w e ar e, a s hi s c o u n s el h a v e p ut hi m i n t h e b e st p o s si bl e
 3    p o siti o n t h at w e c o ul d p ut hi m i n w h e n h e l e a v e s h er e. T h at i s o ur d ut y.
4     A n d w e will m a k e n o c o m pr o mi s e o n t h at.
 5    T H E C O U R T: V er y w ell Mr . R o b ert s. I t h e c o urt a gr e e s wit h y o u t h at c ert ai nl y t h at i s y o ur
 6    d ut y a s hi s c o u n s el.
 7    T H E C O U R T : A n d y o u m a y c o nti n u e.
 8    M R R O B E R T S: Y e s, y o ur w or s hi p . S e cti o n 1 7 t hi s i s t h e e xtr a diti o n C h a pt er 9 6 St at ut e l a w
 9    of t h e B a h a m a s.
10    T H E C O U R T: Y e s, sir
11    M R. R O B E R T S: S e cti o n 1 7 ( 1) w h er e a f u giti v e arr e st e d, p ur s u a nt t o a w arr a nt u n d er
12    s e cti o n 9 i n di c at e s t h at h e i s willi n g t o b e e xtr a dit e d, s h all b e br o u g ht b ef or e a
13    m a gi str at e w h o s h all i nf or m hi m of hi s ri g ht t o f or m al e xtr a diti o n pr o c e e di n g s u n d er
14    t hi s a ct.
15     S u b s e cti o n T w o, If t h e f u giti v e u p o n b ei n g i nf or m e d of hi s ri g ht t o e xtr a diti o n
16    pr o c e e di n g s, c o n s e nt s i n writi n g t o b e e xtr a dit e d wit h o ut f or m al s orr y.
17     Wit h o ut s u c h pr o c e e di n g s, t h e M a gi str at e       s h all c o m mit hi m t o c u st o d y t o a w ait hi s
18    e xtr a diti o n u n d er t hi s a ct.
19     S u b s e cti o n t hr e e, s u bj e ct t o s u b s e cti o n f o ur. W h er e a f u giti v e i s c o m mitt e d t o c u st o d y
20    t o a w ait hi s e xtr a diti o n, p ur s u a nt t o s u b s e cti o n t w o.
21     T h e Mi ni st er m a y n ot wit h st a n di n g t h e pr o vi si o n s of s e cti o n 1 1. Or d er hi m t o b e e xtr a dit e d
22    f ort h wit h.
23     T o t h e a p pr o v e d st at e b y w hi c h t h e r e q u e st f or e xtr a diti o n w a s m a d e.
24     S u b s e cti o n f o ur. A n d m a ki n g a n or d er U n d er s u b s e cti o n t hr e e, t h e mi ni st er s s h all h a v e
25    r e g ar d t o t h e pr o vi si o n s of s e cti o n s e v e n u nt o t h e r e q uir e m e nt s of s e cti o n 1 2 ( 2) ( 3) ( 4)
26    a n d ( 5) r el ati n g t o t h e m a ki n g of a n or d er u n d er t h at s e cti o n.
27    Y o ur w or s hi p if I m a y t h e n t a k e y o u pl e a s e t o arti cl e 1 7 of t h e e xtr a diti o n tr e at y.
28    T H E C O U R T: Arti cl e 1 7.
29    M R. R O B E R T S: L et m e i ntr o d u c e it fir st of all, f or t h e r e c or d y o ur w or s hi p. T hi s i s t h e
30    e xtr a diti o n tr e at y b et w e e n t h e g o v er n m e nt of t h e c o m m o n w e alt h of t h e B a h a m a s a n d
3 1   t h e g o v er n m e nt of t h e U nit e d St at e s of A m eri c a w hi c h i s a tr e at y.
32      U m w hi c h i s d at e d 9 M ar c h 1 9 9 0. If I m a y t a k e y o u t o Arti cl e 1 4 of t h at tr e at y, pl e a s e y o ur
33     w or s hi p.
34      T hi s i s t h e m o st i m p ort a nt a s p e ct of t h e s e pr o c e e di n g s. A s r e g ar d s t o Mr. B a n k m a n-
35     Fri e d. A s r e g ar d s t o o ur r e pr e s e nt ati o n of hi m.
36      Arti cl e 1 4 i s t h e r ul e of s p e ci alt y. O n e a p er s o n e xtr a dit e d u n d er t hi s tr e at y m a y o nl y b e
37     d et ai n e d, tri e d or p u ni s h e d i n t h e r e q u e sti n g st at e f or t h e off e n s e s f or w hi c h e xtr a diti o n
38     w a s gr a nt e d.
39      Or a n y off e n s e c o m mitt e d aft er t h e e xtr a diti o n .
40      S orr y, t h at' s A
4 1    B a n y off e n s e i n r e s p e ct t o w hi c h t h e e x e c uti v e a ut h orit y of t h e r e q u e st e d st at e i n
42     a c c or d a n c e wit h it s l a w s h a s c o n s e nt e d t o t h e p er s o n' s d et e nti o n, tri al or p u ni s h m e nt.
 43     A n d f or t h e p ur p o s e s of t hi s s u b p ar a gr a p h, t h e r e q u e st e d st at e s h all r e q uir e
 44    c o m pli a n c e wit h t h e e xtr a diti o n pr o c e d ur e s s p e cifi e d i n Arti cl e ei g ht o n t h e s u b mi s si o n
 45    of t h e d o c u m e nt s s p e cifi e d i n t h at arti cl e.
 46     C a n y off e n s e w hi c h i s a l e s s er off e n s e pr o v e d b y t h e f a ct s b ef or e t h e c o urt of c o m mitt al
 47    or D a n y off e n s e d e alt wit h b y t h e r e q u e sti n g st at e aft er o n e, t h e p er s o n f ail e d t o l e a v e
 48    t h e t errit or y of t h e r e q u e sti n g st at e wit hi n 3 0 d a y s of b ei n g fr e e t o d o s o or t w o.
 49     T h e p er s o n h a s l eft t h e t errit or y of t h e r e q u e sti n g st at e a n d v ol u nt ar y r et ur n t o it.


       R O U G H - 2 1 D ecemb er 20 22

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 1     S u b p ar a gr a p h t w o p er s o n e xtr a dit e d u n d er t hi s tr e at y m a y o nl y b e e xtr a dit e d t o t h e
 2    t hir d st at e.
 3     If ( a) t h e r e q u e st e d st at e , t h e r e q u e st e d st at e c o n s e nt s or ( b) t h e cir c u m st a n c e s ar e
4     s u c h t h at t h e p er s o n c o ul d b e d e alt wit h i n t h e r e q u e sti n g st at e, p ur s u a nt t o s u b
 5    p ar a gr a p h D of p ar a gr a p h o n e.
 6    Y o ur w or s hi p.
 7     T h o s e ar e t h e pr o vi si o n s w hi c h h a v e o p er at e d o n t h e mi n d of Mr. B a n k m a n- Fri e d i n t h e
 8    e x er ci s e of hi s ri g ht u n d er arti cl e s e cti o n 1 7. If I m a y i n vit e y o ur att e nti o n, y o ur w or s hi p
 9    t o t h e affi d a vit w hi c h w a s h a n d e d o ut y e st er d a y,
10    T hi s i s a n affi d a vit w hi c h is fil e d i n t h e M a gi str at e s c o urt o n 2 0 D e c e m b er 2 0 2 2. T h er e i s
11    t h e h e a di n g, it' s i n t h e C o m m o n w e alt h of t h e B a h a m a s a n d t h e M a gi str at e s c o urt,
12    Cri mi n al Di vi si o n.
13     T o t h e ri g ht 2 0 2 2 n u m b er, it' s i n t h e m att er of a r e q u e st b y t h e U nit e d St at e s of A m eri c a
14    f or t h e e xtr a diti o n of S a m u el B a n k m a n- Fri e d .
15     A n d i n t h e m att er of t h e e xtr a diti o n tr e at y b et w e e n t h e g o v er n m e nt of                          the
16    C o m m o n w e alt h of t h e B a h a m a s, t h e g o v er n m e nt of t h e U nit e d St at e s of A m eri c a.
17     A n d i n t h e m att er of t h e e xtr a diti o n A ct, C h a pt er 9 6 t h e St at ut e L a w of t h e B a h a m a s
18     It i s b et w e e n t h e U nit e d St at e s of A m eri c a w h o i s t h e a p pli c a nt a n d S a m u el B a n k m a n-
19    Fri e d w h o i s d e s cri b e d i n t h e a ct a s t h e f u giti v e. T hi s i s hi s affi d a vit.
20    It s a y s I S a m u el B a n k m a n- Fri e d c urr e ntl y a n i n m at e of t h e d e p art m e nt of c orr e cti o n al
21    s er vi c e s sit u at e d i n t h e e a st er n di stri ct of t h e i sl a n d of N e w Pr o vi d e n c e, o n e of t h e
22    i sl a n d s of t h e c o m m o n w e alt h of t h e B a h a m a s .
23    B u si n e s s e x e c uti v e a n d e ntr e pr e n e ur m a k e o at h a n d s a y a s f oll o w s. O n e o n 1 2 D e c e m b er
24    2 0 2 2 w hil e i n t h e B a h a m a s, I w a s arr e st e d b y offi c er s of t h e R o y al B a h a m a s P oli c e F or c e
25    s u c h arr e st s b ei n g p ur s u a nt t o a pr o vi si o n al w arr a nt of arr e st
26    T w o fr o m t h e 1 3t h of D e c e m b er 2 0 2 2 I w a s t a k e n t o M a gi str at e s c o urt n u m b er ni n e
27    N a s s a u str e et s c o urt w h er e I a p p e ar e d b ef or e c hi ef m a gi str at e J o a n n F er g u s o n- Pr att
28    W hil e t h er e I w a s i nf or m e d b y t h e s ai d c hi ef m a gi str at e t h at I w a s t h er e i n r el ati o n t o
29    e xtr a d iti o n pr o c e e d in g s .
30     F urt h er, w hil e t h eir c o u n s el f or t h e a p pli c a nt di s cl o s e d t o m y c o u n s el t h e affi d a vit of
31    C or d ell F Fr a s er, s a m e h a vi n g b e e n fil e d h e ari n g o n 1 3 D e c e m b er 2 0 2 2. E x hi bit e d t o t h e
32    s ai d affi d a vit w er e a di pl o m ati c n ot e a n d a n arr e st w arr a nt m ar k e d r e s p e cti v el y a s
33    e x hi bit C .F .F. 1 a n d e x hi bit C. F. F 2.
34      Att a c h e d a n d e x hi bit e d h er et o a s S B F 1 a n d S .B .F 2 ar e r e s p e cti v el y t h e s ai d di pl o m ati c
35     n ot e a n d arr e st w arr a nt.
36    T hr e e t h at    o n e h a vi n g c o n si d er e d t h e c h ar g e s s ettl e d i n t h e s ai d di pl o m ati c n ot e a n d
37    arr e st w arr     a nt t w o a n d h a vi n g c o n si d er e d t h e r ul e of s p e ci alt y s ettl e d i n arti cl e 1 4 of t h e
38    e xtr a diti o n    tr e at y b et w e e n t h e g o v er n m e nt of t h e c o m m o n w e alt h of t h e B a h a m a s a n d
39    t h e g o v er n    m e nt of t h e U nit e d St at e s of A m eri c a s u b t hr e e.
40      A n d h a vi n g a d e sir e t o m a k e t h e r el e v a nt c u st o m er s w h ol e.
41      F o ur. A n d h a vi n g i nf or m e d s orr y a n d h a vi n g b e e n i nf or m e d b y t h e s ai d c hi ef m a gi str at e
42     of m y ri g ht t o f or m al e xtr a diti o n pr o c e e di n g s u n d er t h e e x tr a diti o n a ct c h a pt er 9 6 T h e
43     st at ut e l a w s of t h e B a h a m a s.
44      A n d s u b fi v e a n d b ei n g a w ar e of m y ri g ht t o b e e x tr a dit e d wit h o ut f or m al e xtr a diti o n
 45    pr o c e e di n g s .
 46     I h er e b y c o n s e nt i n writi n g t o b e e xtr a dit e d wit h o ut f or m al e xtr a diti o n pr o c e e di n g s .
 47    S u c h e x tr a diti o n b ei n g t o t h e U nit e d St at e s of A m eri c a, p ar a gr a p h f o ur, t h at t h e p ur p o s e
 48    f or w hi c h t hi s affi d a vit i s s w or n i s t o s et u p m y c o n s e nt t o b e e x tr a dit e d wit h o ut f or m al
 49    e xtr a d iti o n pr o c e e di n g s.




       R O U G H - 2 I Dece m be r 2 0 2 2

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 1     P ar a gr a p h fi v e. T h at t h e c o nt e nt s of t hi s affi d a vit, tr u e a n d c orr e ct t o t h e b e st of m y
 2    k n o wl e d g e i nf or m ati o n a n d b eli ef . It i s s w or n 2 0t h d a y of D e c e m b er 2 0 2 2 it i s b ef or e a
 3    B a h a mi a n n ot ar y p u bli c.
 4    Y o ur w or s hi p t h er e i s a c ertifi c at e i n st a n d ar d f or m.
 5     T h e n t h er e i s t h e e x hi bit, r ef err e d t o C F F o n e i n t h e affi d a vit of t h e a p pli c a nt a n d r ef err e d
 6    t o a s S B F o n e i n o ur affi d a vit.
 7    Y o ur w or s hi p I t a k e y o u d o w n, I will r e a d t h e fir st f e w p ar a gr a p h s , I will n ot r e a d all of it
 8    b ut it c o n si st s of o n e
 9    T H E C O U R T: I d o n't t hi n k it' s n e c e s s ar y t o r e a d all of it
10    M R . R O B E R T S : I k n o w I w o n't 5 6 7 . Ei g ht p a g e s.
11     It i s fr o m t h e e m b a s s y of t h e U nit e d St at e s of A m eri c a. I' m r e a di n g o n p a g e ei g ht, t h e
12    v er y l a st u m f e w li n e s o n p a g e ei g ht.
13     S a y s t h e E m b a s s y of t h e l a st p ar a gr a p h , t h e E m b a s s y of t h e U nit e d St at e s of A m eri c a
14    a v ail s it s elf of t hi s o p p ort u nit y t o r e n e w t o t h e Mi ni st er of F or ei g n Aff air s of t h e
15    c o m m o n w e alt h of t h e B a h a m a s, t h e a s s ur a n c e s of it s hi g h e st c o n si d er ati o n.
16     A n d I h o p e t h o s e ar e n ot j u st w or d s.
17    Y o ur w or s hi p it g o e s o n e m b a s s y of t h e U nit e d St at e s of A m eri c a N a s s a u o n D e c e m b er
18    1 0t h 2 0 2 2. Y o ur w or s hi p I will t a k e f or t h e p ur p o s e s of t h e r e c or d a n d f or o ur p ur p o s e s
19    j u st t o r e a d t hr o u g h a n u m b er wit h t h e p ar a gr a p h s.
20     U m It i s n u m b er o n e, I'm o n p a g e o n e y o ur w or s hi p at t h e t o p l eft. It s a y s n u m b er 1 9 4
21    sl a s h 2 2 . Si n c e t h e E m b a s s y of t h e U nit e d St at e s of A m eri c a pr e s e nt s it s c o m pli m e nt s
22    t o t h e Mi ni st er of F or ei g n Aff air s of C o m m o n w e alt h of t h e B a h a m a s h a s t h e h o n or t o
23    r e q u e st t h e pr o v isi o n al arr e st f or e xtr a diti o n p u r p o s e s of S a m u el B a n k m a n- Fri e d a k a
24    S B F p ur s u a nt t o t h e e xtr a diti o n tr e at y b et w e e n t h e U nit e d St at e s of A m eri c a a n d t h e
25    g o v er n m e nt of t h e C o m m o n w e alt h of t h e B a h a m a s si g n e d o n M ar c h 9t h 1 9 9 0 i s r ef e r r e d
26    t o a s t h e Tr e at y.
27     S o w e' r e all t al ki n g a b o ut t h e s a m e tr e at y.
28    T H E C O U R T: Y e s , t h at i s t h e tr e at y t h at y o u r ef err e d t o e arli er .
29    M R R O B E R T S : Y e s , it g o e s o n B a n k m a n- Fri e d i s w a nt e d f or tri al i n t h e U nit e d St at e s o n
30    wir e fr a u d a n d r el at e d off e n s e s .
31     N e x t p ar a gr a p h B a n k m a n- Fri e d i s c h ar g e d b y i n di ct m e nt i n c a s e n u m b e r 2 2 C R 6 7 3 fil e d
32    o n D e c e m b er 9 2 0 2 2 i n t h e U nit e d St at e s Di stri ct C o urt f or t h e S o ut h er n Di stri ct of N e w
33    Y or k wit h t h e f oll o wi n g c h ar g e s : t w o c o u nt s of wi r e fr a u d i n vi ol ati o n of Titl e 1 8 U nit e d
34    St a t e s C o d e s e cti o n 1 3 4 3 a n d t w o.
35      N e x t t w o c o u nt s of c o n s pir a c y t o c o m mit wir e fr a u d a n d vi ol ati o n of titl e 1 8 U nit e d St at e s
36     C o d e s e cti o n 1 3 4 9. N e x t.
37      O n e . C o u nt of c o n s pir a c y t o c o m mit c o m m o diti e s fr a u d i n vi ol ati o n of Titl e 1 8 U nit e d
38     St at e s C o d e s e cti o n 3 7 1. If I' m c orr e ct, y o ur w or s hi p y o u s h o ul d b e.
 39     N o w. W e'r e     o n p a g e t w o.
 40    T H E C O U R T:     Y e s b y m y c o p y it i s p a g e t w o.
 41    M R . R O B E R T S: Y e s a n d b y mi n e .
 42     N e x t i s o n e c o u nt of c o n s pir a c y t o c o m mit s e c uriti e s fr a u d i n vi ol ati o n of Titl e 1 8 U nit e d
 43    St at e s C o d e s e cti o n 3 7 1. N e x t o n e c o u nt of m o n e y l a u n d eri n g c o n s pir a c y i n vi ol ati o n of
 44    titl e 1 8 U nit e d St at e s c o d e s e cti o n 1 9 5 6 a n d I m a k e t h at t o b e H .
 45     T H E C O U R T : Y e s I d o a s w ell. T h a n k y o u.
 46     M R. R O B E R T S: I' m j u st w o n d er in g if m y l e ar n e d fri e n d s c a n c o nf ir m t ha t t h at i s i n f a ct
 47    a n H.
 48     T H E C O U R T: Mr. Willi a m s . Ar e y o u e v e n i n a p o siti o n t o d o s o ?
 49    It l o o k s li k e H ?


       R O U G H - 2 1 D ece m be r 2 0 2 2

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      M R WI L LI A M S:      O n t h e d o c k et ?
 2     T H E C O U R T : Y e s it l o o k s li k e H . I d o n't k n o w t h at y o u 'r e i n a p o siti o n t o s a y o n e w a y or
 3    t h e ot h er w h et h er a n y err or w a s m a d e o n t h e d o c u m e nt it i s h.
 4    M R. R O B E R T S : Mi n e c o ul d p a s s f or B a s it i s n ot q uit e c o pi e d.
 5    T H E C O U R T : B ut if it i s. Y e s it a p p e ar s t o b e it a p p e ar s t o b e a n h t o m e.
 6     U m a n d I w o ul d s a y s o c ert ai nl y u m t o a d e gr e e of 9 9. 9 %.
 7    M R R O B E R T S: V er y w ell s o w e u n d er h ? Y e s a n d m y                  l e ar n e d fri e n d s h a v e n ot s ai d
 8    a n yt hi n g ot h er wi s e.
 9     A n d t h e l a st o n e, 1 c o u nt of c o n s pir a c y t o d efr a u d t h e U nit e d St at e s i n vi ol ati o n of titl e
10    1 8. U nit e d St at e s C o d e S e cti o n 3 7 1. U m.
11     B a s e d o n t h e c h ar g e s i n t h e i n di ct m e nt o n D e c e m b er 9, 2 0 2 2, U nit e d St at e s Di stri ct
12    C o urt f or t h e S o ut h er n Di stri ct of N e w Y or k i s s u e d a w arr a nt f or t h e arr e st of B a n k m a n-
13    Fri e d.
14    T hi s arr e st w arr a nt r e m ai n s v ali d a n d e x e c ut a bl e t o a p pr e h e n d B a n k m a n- Fri e d t o st a n d
15    tri al f or t h e cri m e s c h ar g e d i n t h e i n di ct m e nt.
16    T h e f a ct s u n d erl yi n g t h e c o n vi cti o n t h at s a y s c o n vi cti o n, b ut I' m s ur e t h at m u st b e a n
17    err or ar e a s f oll o w s.
18     U m a n d t h e n it g o e s o n a n d g o e s o n t o s a y.
19    T H E C O U R T: y e s t o s et o ut t h e f a ct s r eli e d u p o n.
20    M R. R O B E R T S : Y e s. I n e e d n ot r e a d t h e m t h er e i n t h e affi d a vit b ut t h e y ar e p art of t h e
21    r e c or d.
22    T H E C O U R T: Y e s . V er y w ell. S o.
23    M R R O B E R T S: T h e arr e st w arr a nt i s e x hi bit e d i n o ur affi d a vit.
24     A s S B F . T w o. T h e affi d a vit of m y l e ar n e d fri e n d e x hi bit C. F. F. T w o
25    T h e i m p ort a nt p oi nt f or u s Y o ur W or s hi p i s t h at t hi s s et s o ut c a s e n u m b er of 2 2 cri m t h at
26    C .R.I. M. 6 7 3 . S o a s f ar a s w e ar e a w ar e t h at i s t h e c a s e t o w hi c h w e ar e s p e a ki n g, it i s
27    titl e d U nit e d St at e s of A m eri c a v. S a m u el B a n k m a n- Fri e d a k a S B F v er y w ell
28    I n e e d n ot r e a d a n yt hi n g el s e t h e w arr a nt i s t h er e.
29    T H E C O U R T : A n d t h at arr e st w arr a nt a n d t h e c a s e n u m b er t h at y o u r ef er t o u m i s i n
30    a c c or d wit h t h e pr eli mi n ar y p ar a gr a p h t o t h e c h ar g e s t h at y o u s p o k e t o a s w ell.
3 1    M R. R O B E R T S: Y o ur w or s hi p it w o ul d a p p e ar I' m n ot g oi n g t o c o m mit. It' s a m att er f or
32     w ell,
33    T H E C O U R T: Y e s, a g ai n, a s Mr. a s Mr. a s Mr. Willi a m s           Ki n g' s C o u n s el s o el o q u e ntl y p ut it,
34    it s a y s s o i n t h e d o c u m e nt.
35     M R . R O B E R T S : T h at y o ur w or s hi p, t h at w o ul d b e a m att er           if t h er e' s a n y diff er e n c e f or
36     ar g u m e nt.
37     T H E C O U R T: V er y w ell. V er y w ell.
 38    M R. R O B E R T S: Y o ur w or s hi p a s b e st a s w e c a n y o ur W or s hi p g oi n g b a c k t o Arti cl e 1 4,
 39    t h e r ul e of s p e ci alt y, w e b eli e v e Y o ur W or s hi p t h at Mr. B a n k m a n- Fri e d i nt e nti o n s ar e
40     cl e ar a n d t h e r e a s o n f or d oi n g s o ar e e q u all y a s cl e ar. It h a s al w a y s b e e n hi s d e sir e t o
 41    p ut t h e c u st o m er s ri g ht.
 42     Y o ur W or s hi p. T h e o nl y r e q u e st t h at w e h a v e a vi e w at t hi s p oi nt, h a vi n g s ati sfi e d w e
 43    b eli e v e s e cti o n 1 7 t w o i s t h at i n y o ur or d er of c o m mitt al, w e i n vit e y o u a s b e st a s y o u c a n
 44    t o e n s ur e t h at t h e off e n s e s f or w hi c h t h e e xtr a diti o n i s t o t a k e pl a c e ar e t h e off e n s e s f or
 45    w hi c h h e will b e tri e d. N o ot h er off e n s e .
 46    T H E C O U R T: V er y w ell.
 47    M R. R O B E R T S: I' m o bli g e d y o ur w or s hi p. I t h a n k y o u f or y o ur ti m e a n d I i n vit e y o u t o n o w
 48    c arr y o ut y o ur d uti e s u n d er t h e a ct.


       R O U G H - 2 1 D e c e m b er 2 0 2 2

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      T H E C O U R T: T h a n k y o u. Mr. R o b ert s.
 2    M R R O B E R T S: T h a n k y o u.
 3    T H E C O U R T: Mr. Willi a m s B ef or e I c all u p o n t h e f u giti v e t o t a k e u m t h e o at h or affir m ati o n
 4    a n d c o nfir m t h at t h e affi d a vit r ef err e d t o b y y o ur l e ar n e d fri e n d i s i n f a ct hi s affi d a vit.
 5     D o y o u wi s h t o s a y a n yt hi n g at all ?
 6    M R WI L LI A M S: T h e f u giti v e i s i n y o ur h a n d.
 7    T H E C O U R T: V er y w ell, v er y w ell. U m Mr. B a n k m a n- Fri e d if y o u m a y st a n d pl e a s e.
 8    Sir, m a y y o u pl e a s e l e a d Mr. B a n k m a n- Fri e d u m t o t h e wit n e s s b o x.
 9     Y e s. Mr . B a n k m a n- Fri e d. H ell o t o y o u a g ai n.
10    M R B A N K M A N- F RI E D: H ell o
11    T H E C O U R T: U m .
12     Mr. B a n k m a n - Fri e d U m I a m g oi n g t o a s k y o u t o u m eit h er b y s w or n o at h or affir m ati o n
13    u m i n di c at e c ert ai n t hi n g s t o m e .
14     O k a y, d o y o u pr ef er t o s w e ar o n t h e bi bl e ? Or w o ul d y o u pr ef er t o gi v e a n affir m ati o n ?
15     M R B A N K M A N- F RI E D: I'll d o a n affir m ati o n. T h a n k y o u .
16     T H E C O U R T: V er y w ell. If y o u m a y f oll o w t h e w or d s of t h e M ar s h all pl e a s e . U m I w o ul d
17    a s k at t hi s ti m e f or all p er s o n s i n t h e c o urtr o o m u m t o sit still w hil e t h e affir m ati o n i s
18    b ei n g a d mi ni st er e d.
19    C O U R T M A R S H A L L: R e p e at aft er m e.
20     M R B A N K M A N- F RI E D : I s ol e m nl y, si n c er el y, a n d tr ut hf ull y d e cl ar e a n d affir m t h at t h e
21    e vi d e n c e I s h all gi v e s h all b e t h e tr ut h. T h e w h ol e tr ut h a n d n ot hi n g b ut t h e tr ut h.
22    T H E C O U R T:     V er y w ell, t h a n k y o u .
23    T H E C O U R T: Mr . B a n k m a n- Fri e d. U m f or t h e r e c or d. C a n y o u pl e a s e gi v e y o ur n a m e,
24    a d dr e s s a n d o c c u p ati o n .
25    M R B A N K M A N- F RI E D: U h S a m u el B e nj a mi n B a n k m a n- Fri e d .
26     U m o c c u p ati o n, e ntr e pr e n e ur.
27     U m a n d E x e c uti v e. U m.
28      I g u e s s m y a d dr e s s i s a littl e u n cl e ar ri g ht n o w. U m I h a d b e e n r e si di n g i n u h Al b a n y i n
29     N a s s a u a n d p art of t h at i n C a bl e b e a c h i n N a s s a u.
30    T H E C O U R T: Mr. B a n k m a n- Fri e d f or a s h ort ti m e a g o, y o u w o ul d h a v e h e ar d y o ur c o u n s el
31    Mr. R o b ert s r ef err e d t o a n affi d a vit u m t h at y o u pr e p ar e d. H e r e a d t h e c o nt e nt s of t h at
32    affi d a vit i nt o t h e r e c or d of t h e s e pr o c e e di n g s. Di d y o u i n f a ct i n str u ct y o ur c o u n s el t o
33    pr e p ar e a n affi d a vit o n y o ur b e h alf ?
34     M R B A N K M A N- F RI E D: Y e s, I di d.
35     T H E C O U R T: A n d di d y o u si g n t h at affi d a vit ?
36     M R. B A N K M A N- F RI E D: Y e s, I di d.
 37    T H E C O U R T: If y o u w er e t o s e e t h at affi d a vit a g ai n, w o ul d y o u b e a bl e t o r e c o g ni z e it ?
 38     M R B A N K M A N- F RI E D : Y e s.
 39    T H E C O U R T : A n d mi g ht I a s k h o w s o sir, pl e a s e ?
 40    M R. B A N K M A N- F RI E D: I w o ul d r e c o g ni z e m y si g n at ur e o n it.
 41     T h e st a m p o n t h e b ott o m of it a n d t h e r o u g h c o nt e nt s of t h e d o c u m e nt.
 42    T H E C O U R T: V er y w ell. U m I' m g oi n g t o h a n d y o u u m t h e c o p y of t h e affi d a vit t h at t h at
 43    t h at I h a v e, t h e p ur p ort e d affi d a vit of y o ur s t h at I h a v e. U m I h a v e m ar k e d o n it a littl e bit
 44    i n p e n cil. U m s o, if y o u m a y pl e a s e e x c u s e u m t h o s e m ar ki n g s of mi n e.




       R O U G H - 2 1 D e c e m b er 2 0 2 2

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 1     U m a n d I will a s k y o u sir u m t o t a k e a l o o k at it pl e a s e. A n d pl e a s e s a y w h et h er t h at i n
 2    f a ct i s t h e affi d a vit t h at y o u s a y t h at y o u i n str u ct e d y o ur c o u n s el t o pr e p ar e t h at y o u c a n
 3    i d e ntif y b y t h e m e a n s t h at y o u j u st i n di c at e d.
 4     M R. B A N K M A N- F RI E D: Y e s, t hi s i s.
 5    T H E C O U R T: F or t h e r e c or d c a n y o u pl e a s e p oi nt y o ur si g n at ur e o ut t o m e ?
 6     M R B A N K M A N- F RI E D: U h it's ri g ht t h er e
 7    T H E C O U R T: v er y w ell, t h a n k y o u .
 8    T h a n k y o u. Mr. B a n k m a n- Fri e d.
 9    M R B A N K M A N- F RI E D: T h a n k y o u.
10    T H E C O U R T: Mr. B a n k m a n- Fri e d i n t h at affi d a vit y o u i n di c at e d y o ur c o u n s el i n di c at e d,
11    a n d y o u i n di c at e d, u m, y o ur c o u n s el p oi nt e d m e, u m, t o p ar a gr a p h t hr e e, s u b p ar a gr a p h
12    f o ur, u m.
13     At t h at j u n ct ur e i n t hi s d o c u m e nt, y o u i n di c at e d t h at y o u h a d b e e n i nf or m e d pr e vi o u sl y
14    b y t h e c hi ef m a gi str at e w h o y o u a p p e ar e d b ef or e u m i n t hi s s p a c e s o m e d a y s a g o u m
15    t h at y o u h a d b e e n i nf or m e d b y t h at p er s o n of y o ur ri g ht t o f or m al e xtr a diti o n
16    pr o c e e di n g s.
17     I s t h at s o ?
18    M R. B A N K M A N- F RI E D: Y e s
19    T H E C O U R T : V er y w ell. A n d wit h r e g ar d t hi s affi d a vit t h at y o u h a v e pr e p ar e d, y o ur
20    c o u n s el h a s i n di c at e d t h at y o u ar e d e sir o u s of w ai vi n g y o ur ri g ht t o s u c h f or m al
2 1   pr o c e e di n g s.
22     I s t h at i n f a ct s o ? d o y o u i n f a ct wi s h t o w ai v e y o ur ri g ht t o s u c h f or m al e xtr a diti o n
23    pr o c e e di n g s ?
24    M R. B A N K M A N- F RI E D: Y e s, I d o wi s h t o w ai v e              my     ri g ht t o s u c h f or m al e xtr a diti o n
25    pr o c e e di n g s .
26    T H E C O U R T: V er y w ell.
27    A n d if I m a y a s k y o u pl e a s e sir, h a v e y o u b e e n f or c e d, c o er c e d, t hr e at e n e d u m i n a n y
28    w a y u m t o gi v e t h e c o n s e nt t h at y o u n o w gi v e wit h r e g ar d w ai vi n g y o ur ri g ht t o f or m al
29    e xtr a diti o n pr o c e e di n g s.
30    M R B A N K M A N- F RI E D: N o I h a v e n ot
31     T H E C O U R T: U m h a v e y o u d o n e s o v ol u nt aril y ?
32     M R B A N K M A N- F RI E D: Y e s
33    T H E C O U R T: V er y w ell , t h a n k y o u . Mr. B a n k m a n- Fri e d y o u m a y st e p d o w n.
34      Mr. R o b ert s t h e c o urt i s a p pr e ci ati v e of w h at y o u h a v e s ai d u m wit h r e g ar d t h e r ul e of
35     s p e ci alt y u m c o nt ai n e d i n Arti cl e 1 4 of t h e r ef err e d t o e xtr a diti o n tr e at y. U m it i s m y vi e w
36     c ert ai nl y u m t h at s e cti o n 1 7 of t h e a ct i n f a ct mirr or s u m w hi c h y o u i n di c at e u m t h e
37     r e s p o n si bilit y of t h e mi ni st er i s wit h r e g ar d hi s st at e t o st at e c o m m u ni c ati o n s wit h t h e
38     r e q u e sti n g st at e.
 39     A n d I t o a b o v e t h e vi e w t h at n ot wit h st a n di n g m y li mit e d j u di ci al f u n cti o n s.
40      A n d it i s q uit e li mit e d. U m W hil e      I c ert ai nl y b eli e v e t h at it i s i m pr o p er f or m e t o dir e ct
4 1    st at e t o st at e c o m m u ni c ati o n s.
 42    I c ert ai nl y d o n ot b eli e v e t h at it i s u nr e a s o n a bl e f or m e t o i n di c at e t o t h e mi ni st er m y
 43    a p pr e ci ati o n f or t h e r ul e of s p e ci alt y a s w ell.
 44     I n d e e d, Mr. B a n k m a n- Fri e d i n p ar a gr a p h t w o of hi s affi d a vit h a s i n f a ct o utli n e d u m t h e
 45    f a ct t h at h e i s a p pr e ci ati v e of t h e c o nt e nt s of t h e e x hi bit s of t h e affi d a vit of Mi s s Fr a s er
 46    u m t h at y o u cl e arl y h a v e i n cl u d e d p ur s u a nt t o Mr . B a n k m a n- Fri e d i n str u cti o n s i n hi s
 47    affi d a vit. A n d y o u h a v e q uit e p ur p o s ef ull y a n d I d o n't b eli e v e t h at it w a s a n u n n e c e s s ar y
 48    e x er ci s e, i n di c at e d t h e c h ar g e s o n t h e i n di ct m e nt.
 49    M R R O B E R T S: At t h e b ott o m .

       R O U G H - 2 1 Dece mbe r 20 22

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 1     T H E C O U R T : Y e s, s orr y. T h e di pl o m ati c n ot e s ar e t h e c h ar g e s o utli n e d o n a di pl o m ati c
 2    n ot e t h at Mr. B a n k m a n- Fri e d u m i s a p pr e ci ati v e of t h at h e will h a v e t o a n s w er t o i n t h o s e
 3    cir c u m st a n c e s I t a k e y o ur p oi nt a n d t h e c o urt will c ert ai nl y e x er ci s e it s d u e dili g e n c e t o
 4    e n s ur e t h at t h at i s c o n v e y e d .
 5     B e ari n g i n mi n d.
 6    M R R O B E R T S: S orr y g o a h e a d.
 7    Y o ur W or s hi p,    I t h o u g ht y o u w er e t hr o u g h, b e c a u s e I w a s j u st g oi n g t o gi v e y o u m y
 8    t h a n k s f or.
 9    T H E C O U R T: V er y w ell , y e s . V er y w ell, s o n ot a pr o bl e m at all. A n d I m e a n n o d o u bt
10    s e cti o n 1 7 cl e arl y o utri g ht c all s f or it a n d t h e mi ni st er cl e arl y h a s r e s p o n si biliti e s u n d er
11    s e cti o n 1 2 a s w ell wit h r e g ar d h o w h e c arri e s o ut hi s f u n cti o n.
12     O k a y. I h a v e n o d o u bt a s y o u h a d i n di c at e d e arli e r , I h a v e n o d o u bt t h at a s s ur a n c e s fr o m
13    b ot h si d e s of t h e r e q u e st a n d t h e r e q u e st e d st at e will c ert ai nl y c arr y o ut c arr y o ut t h eir
14    d u e dili g e n c e i n a c c or d a n c e wit h t h e pr o vi si o n s of t h e tr e at y.
15    A n d c e r t ai nl y fr o m o ur e n d i n a c c or d a n c e wit h t h e pr o vi s io n s of t h e E x tr a diti o n A ct.
16    M R R O B E R T S : Y o ur w or s hi p , s orr y I c a n't h e ar y o u. Y o u dr o p y o ur v oi c e. I c a n b ar el y I'm
17    n ot.
18     T H E C O U R T : Y e s. Y e s . Y e s . I' m b a si c all y s a yi n g s o t h at I h a v e e v er y r e a s o n t o b eli e v e u m
19    t h at u m t h e r e q u e st e d st at e u m a s w ell a s t h e r e q u e sti n g st at e will c arr y o ut t h eir
20    o bli g ati o n s a s pr o vi d e d f or i n t h e tr e at y a s w ell a s f or o ur si d e u m th e r e q u e st e d
21    st at e si d e u m it s o bli g ati o n s a s l ai d o ut i n t h e e x tr a diti o n A ct.
22     B ut a s y o u h a v e j u st i n di c at e d y o u r a p pr e ci ati o n f or u m I will c ert ai nl y d o m y p art i n i n
23    i n r e mi n di n g t h e p er s o n s t h at I n e e d t o a d vi s e of t h e o ut c o m e of t h e s e pr o c e e di n g s of
24    w h at t h eir c o n si d er ati o n s u m o u g ht b e i n s of ar a s p oi nti n g t h e m t o t h e m.
25     I c ert ai nl y will n ot I c ert ai nl y will n ot c o n d e s c e n d t o e n g a gi n g i n dir e cti n g t h e c o nt e nt s
26    of st at e t o st at e c o m m u ni c ati o n s.
27     T h at i s n ot m y f u n cti o n at all.
28     M R R O B E R T S: Y o ur w or s hi p f or t he r e c or d t h at i s c ert ai nl y n ot w h at I' m a s ki n g y o u t o
29    d o eit h er.
30    T H E C O U R T : V er y w ell.
31    M R. R O B E R T S: I a p pr e ci at e y o ur li n e e n d s h er e .
32     B ut y o ur eff o r t s t h o u g h t o e n c o ur a g e w h at w e ar e a s ki n g o u g ht t o b e d o n e. I'm s ur e w e
33    h a v e a v er y e x p eri e n c e d Mi ni st er of F or ei g n Aff air s w h o fi g ht s o ur c or n er a n d I
34    a p pr e ci at e hi m f or t h at.
35    T H E C O U R T: A b s ol ut el y. A b s ol ut el y
36    M R R O B E R T S: A n d I'm al m o st c ert ai n t h at h e w o ul d d o hi s j o b pr o p erl y. N o d o u bt a b o ut
37    t h at.
38    T H E C O U R T: A b s ol ut el y . A b s ol ut el y.
39    M R. R O B E R T S : Y o ur W o r s hi p, u nl e s s I c o ul d b e a n y f urt h er a s si st a n c e .
40    T H E C O U R T: V e ry w ell t h a n k y o u . Mr . R o b ert s.
4 1   M R. R O B E R T S: T h a n k y o u .
42    T H E C O U R T: M r . Willi a m s i s t h er e a n yt hi n g f or y o u t o a d d b ef or e I s p e a k wit h t h e f u giti v e ?
43    M R WI L LI A M S : N ot hi n g f urt h er
44    T H E C O U R T : V er y w ell. Mr . B a n k m a n- Fri e d . S ir, I a m s ati s fi e d t h at t h e d o c u m e nt th a t y o u
45    h a v e i d e ntifi ed a s y o ur s i s i n f a ct y o ur s i n k e e p in g wit h th e pr o v is io n s of s e ct io n 1 7 o f
46    t h e e x t ra diti o n A ct, I a m s a ti sfi e d t ha t y o u w e r e arr e st e d p ur s u a nt t o S e cti o n ni n e of t h e
47    e xtr a diti o n A ct f or w hi c h p ur p o s e i s n e c e s s ar y b e c a u s e it i s o nl y b y w a y of ar r e st
48    p ur s u a n t t o t h at s e cti o n t h at s e cti o n 1 7 a p pli e s. I a m s o s ati sfi e d a s w ell , sir, u m t h at y o u
49    h a v e n ot b e e n f or c e d c o e r c e d o r t hr e at e n e d i n a n y w a y u m t o gi v e y o ur c o n s e nt t o w ai v e


       R O U G H - 2 1 D ece mb er 2 0 22

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     f or m al e xtr a diti o n pr o c e e di n g s a n d a s I s h o ul d h a v e s ai d b ef or e w h at I j u st s ai d, I a m
 2   al s o s ati sfi e d u m t h at y o u h a v e b e e n n otifi e d of y o ur ri g ht t o f or m al e xtr a diti o n
 3   pr o c e e di n g s.
 4    U m h a vi n g a pri z e m y s elf of t h e pr o vi si o n s of S e cti o n s e v e n of t h e E xtr a diti o n A ct. I a m
 5   al s o s ati sfi e d f or t h e r e c or d u m t h at t h er e ar e n o pr o hi biti o n s t o e xtr a diti o n e xi sti n g i n
 6   t h e cir c u m st a n c e s u n d er s u c h sir I t h er ef or e f or m all y c o m mit y o u t o c u st o d y w hil e y o u
 7   a w ait y o ur e xtr a diti o n.
 8    I s t h er e a n yt hi n g t h at y o u n e e d t o a s k or s a y b ef or e w e c o n cl u d e t h e s e pr o c e e di n g s ?
 9   M R B A N K M A N- F RI E D: N o sir t h a n k y o u.
10   T H E C O U R T: V er y w ell.
11    T H E C O U R T: T h e n e xt t hi n g I s u p p o s e t h e l a st t hi n g I w a nt t o a s k sir i s u m b e ari n g i n
12   mi n d t h e ti m e of d a y h a v e y o u e at e n ?
13   M R B A N K M A N- F RI E D: Y e s I h a v e
14   T H E C O U R T: Y o u h a v e. V er y w ell. A n d y o u ar e i n g o o d h e alt h ?
15   M R. B A N K M A N- F RI E D: Y e s .
16   T H E C O U R T: V er y w ell o k a y. Wit h o ut f urt h er a d o u m I d o n't b eli e v e t h at t h er e' s a n yt hi n g
17   f urt h er
18   M R R O B E R T S : N o y o ur w or s hi p t h er e' s j u st o n e t hi n g. If t h at f ort h wit h it c o ul d b e
19   i m pr e s s e d t h at Mr . B a n k m a n- Fri e d i s a n xi o u s t o l e a v e w h e n t h at f ort h wit h wit h m e a n s
20   t o d a y. T h at w o ul d b e fi n e.
21   T H E C O U R T : V er y w ell.
22   T h a n k y o u v er y m u c h Mr. R o b ert s. I h a v e n o i d e a w h et h er it will b e t o d a y I s u s p e ct. U m
23   A s s o o n a s p o s si bl e c ert ai nl y i n cl u d e s t h e p o s si bilit y of t o d a y. T h e pr o b a bilit y of t o d a y. I
24   a m s e ei n g b y h e a d s n o d di n g t o m y ri g ht.
25    U m S o y e s t h a n k y o u v er y m u c h. Mr. R o b ert s u m f or y o ur a s s ur a n c e t h at t h at w o ul d b e
26   u m n ot o nl y a c c e pt a bl e b ut fi n e.
27   M R. R O B E R T S: T h a n k y o u y o ur w or s hi p .
28   T H E C O U R T : V er y w ell. O k a y s o i n t h e cir c u m st a n c e s u m t h at c o n cl u d e s t h e s e
29   pr o c e e di n g s u m I will of c o ur s e a d vi s e t h e mi ni st er r e s p o n si bl e f or e xtr a diti o n a b o ut t h e
30   or d er t h at I h a v e j u st m a d e wit h r e g ar d Mr . B a n k m a n- Fri e d b ei n g c o m mitt e d t o c u st o d y
31   w hil e h e a w ait s hi s e xtr a diti o n a n d u nl e s s t h er e' s a n yt hi n g f urt h er.
32    U m I h er e b y a dj o ur n e d t h e c o urt.
33   C O U R T M A R S H A L L: All ri s e.
34   T H E C O U R T: V er y w ell.
35    O k a y.
36                                                               -- E N D-
37                                                               1 1: 4 5 a m




     R O U G H - 2 1 D e c e m b er 2 0 2 2

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